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      Fill in this information to identify the case:

      Debtor name Lite Solar Corp.
      United States Bankruptcy
      Court for the:           Central   District                     District of California
                                                                               (State)
                                                                                                                                                Check if this is an
      Case number (If known):
                                                                                                                                                amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.

     Name of creditor and         Name, telephone number, and email           Nature of the claim   Indicate if claim   Amount of unsecured claim
     complete mailing             address of creditor contact                (for example, trade    is contingent,      If the claim is fully unsecured, fill in only
     address, including zip                                                  debts, bank loans,     unliquidated, or    unsecured claim amount. If claim is partially
     code                                                                    professional           disputed            secured, fill in total claim amount and deduction
                                                                             services, and                              for value of collateral or setoff to calculate
                                                                             government                                 unsecured claim.
                                                                             contracts)
                                                                                                                        Total claim, if Deduction       Unsecured claim
                                                                                                                        partially       for value of
                                                                                                                        secured         collateral or
                                                                                                                                        setoff

1     LDK Solar                  LDK Solar
      International              1290 Oakmead Parkmead, Suite                Trade Debt             Disputed                                            6,561,104.15
      Company Limited            306 Sunnyvale, CA 94085

2                                Quality Bending & Fabrication
      Quality Bending &
                                 10005 SW Herman Road Tualatin, Trade Debt                          Unliquidated                                        298,176.66
      Fabrication
                                 OR 97062

3                                Marco Gomez
                                                                  Professional
      Gomez, Marco               3553 Atlantic Avenue, #250, Long                                   Unliquidated                                        260,000.00
                                                                  Services
                                 Beach, CA 90807

4                                Canadian Solar (USA) Inc. Building
      Canadian Solar             A6 Suzhou New& Hi-tech District
                                                                    Trade Debt                      Unliquidated                                        204,201.60
      (USA) Inc.                 Exporting Processing Zone Jiang,
                                 215215 215215 China (PRC)
                                 Department of the Treasury
5
      Department of the          Internal Revenue Service PO Box
                                                                    Taxes                           Unliquidated                                        101,227.46
      Treasury (IRS)             510000 San Francisco, CA 94151-
                                 5100
                                 Starn O'Toole Marcus & Fisher
6
      Starn O'Toole              Pacific Guardian Center, Makai
                                                                    Trade Debt                      Unliquidated                                        70,073.81
      Marcus & Fisher            Tower 733 Bishop St, 19th Floor
                                 Honolulu, HI 96813
7                                Slinde Nelson Stanford 111 SW
      Slinde Nelson                                                  Professional
                                 Fifth Avenue, Suite 1940, Portland,                                Disputed                                            69,433.81
      Stanford                                                       Services
                                 OR 97204 Ph. 503-417-7777

8                                Chartis
      Chartis                    22427 Network Place Chicago, IL             Trade Debt             Unliquidated                                        65,576.00
                                 60673-1224
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                                                                                                                                              American LegalNet, Inc.
                                                                                                                                              www.FormsWorkFlow.com
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    Debtor        Lite Solar Corp.                                                          Case number (if known)
                  Name




     Name of creditor and complete    Name, telephone number, and          Nature of the   Indicate if claim   Amount of unsecured claim
     mailing address, including zip   email address of creditor contact    claim           is contingent,      If the claim is fully unsecured, fill in only unsecured
     code                                                                 (for example,    unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                          trade debts,     disputed            total claim amount and deduction for value of
                                                                          bank loans,                          collateral or setoff to calculate unsecured claim.
                                                                          professional
                                                                          services, and
                                                                          government
                                                                          contracts)                           Total claim, if    Deduction for       Unsecured
                                                                                                               partially          value of            claim
                                                                                                               secured            collateral or
                                                                                                                                  setoff


9                                     Gary Babick
                                                                          Professional
      Babick, Gary                    317 Jasmine Ave, Corona                          Unliquidated                                                  50,000.00
                                                                          Services
                                      Del Mar, CA 92625

10                                    Aerotek Energy Services
      Aerotek Energy Services         P.O. Box 198531 Atlanta,            Trade Debt       Unliquidated                                              39,293.45
                                      GA 30384
                                      Century Quality
11
      Century Quality                 Management
                                                                   Trade Debt              Unliquidated                                              36,231.98
      Management                      4221 Wilshire Blvd Suite 480
                                      Los Angeles, CA 90010 Ph.
12                                    Weather Proof Roofing LLC
      Weather Proof Roofing
                                      8406 NE Broadway Street   Trade Debt                 Unliquidated                                              35,757.00
      LLC
                                      Portland, OR 97220
13                                    Montgomery Electric &
      Montgomery Electric &           Maintenance, Inc. 2205
                                                                  Trade Debt               Disputed                                                  33,900.00
      Maintenance, Inc.               Hodges Street Lake Charles,
                                      LA 70601
14                                    ECOtality
      ECOtality                       430 South 2nd Ave.                  Trade Debt       Unliquidated                                              29,835.24
                                      Phoenix, AZ 85003
                              Bergkvist, Bergkvist &
15
      Bergkvist, Bergkvist &  Carter, LLP 400 Oceangate,                  Professional
                                                                                       Unliquidated                                                  23,954.81
      Carter, LLP             Suite 800, Long Beach, CA                   Services
                              90802 Ph. 562-435-1426
                              DET Logistics (USA)
16
   DET Logistics (USA)        Corporation
                                                                          Trade Debt       Unliquidated                                              22,425.00
   Corporation                4405 Cushing Parkway
                              Fremont, CA 94538
                              Westside Building Material
17
   Westside Building Material Corp.
                                                                          Trade Debt       Unliquidated                                              20,582.26
   Corp.                      1111 E. Howell Avenue
                              Anaheim, CA 92805
18                                    Konica Minolta
      Konica Minolta                  PO Box 100706 Pasadena,             Trade Debt       Unliquidated                                              18,889.53
                                      CA 91189-0706

19                                    Platt
      Platt                           10605 SW Allen Blvd                 Trade Debt       Unliquidated                                              17,985.03
                                      Beaverton, OR 97005

20                                    Hertz Equipment Rental PO
      Hertz Equipment Rental          BOX 650280 Dallas, TX     Trade Debt                 Unliquidated                                              17,985.03
                                      75265-0280
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                                                                                                                                        American LegalNet, Inc.
                                                                                                                                        www.FormsWorkFlow.com
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                                  Leslie A. Cohen
                               Leslie Cohen Law PC
                            506 Santa Monica Blvd. #200
                              Santa Monica, CA 90401


                               A & G Concrete Cutting
                                  1702 W. 166th St
                                 Gardena, CA 90247


                                        Acme
                                 330 SE Salmon St.
                                 Portland, OR 97214


                               Aerotek Energy Services
                                  P.O. Box 198531
                                 Atlanta, GA 30384


                    AllianceOne Receivables Management Inc
                                 PO Box 2449
                           Gig Harbor WA 98335-2449


                                Allports Incorporated
                          5933 N.E. Win Sivers Dr. Suite 301
                                 Portland, OR 97220


                                    Ameren Illinois
                                    PO Box 66893
                             Saint Louis MO 63166-6893


                                     AMS Uniforms
                        Location: 0002 Ft Wayne -MarkFore HQ
                                   205 E CollinsRoad
                                  Ft Wayne, IN 46825
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                                Andy Gump Inc.
                               26954 Ruether Ave.
                             Santa Clarita, CA 91351


                               Applegate Johnston
                                1016 12th Street
                               Modesto, CA 95354


                                      AT & T
                                   PO Box 5025
                           Carol Stream, IL 60197-5025


                           AT & T Global Services, Inc.
                                 PO Box 8102
                             Aurora, IL 60507-8102


                          Avis Rent A Car System, LLC
                           7984 Collection Center Dr.
                               Chicago, IL 60693


                                 Gary Babick
                               317 Jasmine Ave
                           Corona Del Mar, CA 92625


                         Bakersfield Pipe and Supply Inc.
                                 PO Box 849932
                          Los Angeles, CA 90084-9932


                        Bergkvist, Bergkvist & Carter, LLP
                            400 Oceangate, Suite 800
                             Long Beach, CA 90802
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                                Bison Profab Inc.
                               12519 Wanda Lane
                               Magnolia, TX 77354


                   Bocarsly Emden Cowan Esmail & Arndt LLP
                             633 W 5th St. 70th Floor
                              Los Angeles CA 90071


                            Bryan Ruiz Construction
                             1426 Princeton, Unit 1
                            Santa Monica, CA 90404


                          Canadian Solar (USA) Inc.
                              Building A6 Suzhou
                 New& Hi-tech District Exporting Processing Zone
                             Jiang, 215215 215215
                                 China (PRC)

                        Caterpillar Financial Services Corp
                             2120 West End Avenue
                                  PO Box 340001
                            Nashville, TN 37203-0001


                          Century Quality Management
                          4221 Wilshire Blvd Suite 480
                            Los Angeles, CA 90010


                                     Chartis
                              22427 Network Place
                             Chicago, IL 60673-1224


                               Chen H. Fang, P.E.
                                 PO Box 81163
                             San Marino, CA 91118
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                                  Reza Williams
                        The Faithful Advocate & Associates
                                 c/o Chen H. Fang
                               2121 N. Tustin Ave.
                              Santa Ana, CA 92705


                   Chevron and Texaco Business Card Services
                                PO Box 70887
                           Charlotte, NC 28272-0887


                        Chevron and Texaco Universal Card
                                 PO Box 70995
                            Charlotte NC, 28272-0995


                        Chint Power Systems America Co.
                        700 International Pkwy, Suite 102
                              Richardson, TX 75081


                                Circle Bolt & Nut
                                158 Pringle Street
                          Kingston, Pennsylvania 18704


                   City of Long Beach Business License Section
                                  PO Box 630
                           Long Beach, CA 90842-0001


                               City of Los Angeles
                                Office of Finance
                                 PO Box 53233
                           Los Angeles, CA 90053-0233


                                Comcast Cable
                                 PO Box 3002
                          Southeastern, PA 19398-3002
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                                 Comcast Cable
                                  PO Box 3006
                           Southeastern PA 19398-3006


                              D & L Transport, LLC
                                  PO Box 7690
                             Overland Park, KS 66207


                                    DEMCO
                                Department 1340
                                  PO Box 2153
                           Birmingham. AL 35287-1340


                Department of the Treasury Internal Revenue Service
                                  PO Box 510000
                         San Francisco, CA 94151-5100


                         DET Logistics (USA) Corporation
                             4405 Cushing Parkway
                              Fremont, CA 94538


                           ECHO Global Logistics Inc.
                           600 W. Chicago, Suite 725
                               Chicago, IL 60654


                                    ECOtality
                                430 South 2nd Ave.
                                Phoenix, AZ 85003


                                       EMSI
                                 PO Box 202669
                              Dallas, TX 75320-2669
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                              Exova Portland Laboratory
                             4949 SE JOhnson Creek Blvd
                               Portland, OR 97222-4122


                                 Fast Logistics Inc.
                              1031 S. SANTA FE AVE
                               COMPTON, CA 90220


                              Fast Temp Glass Company
                                   930 2nd Avenue
                                  Dayton, KY 41074


                                Fastenal Company
                                  P.O Box 1286
                              Winona, MN 55987-1286


                               Fed Ex Freight Dept CH
                                    PO Box 10306
                               Palatine, IL 60055-0306


                        FedEx Office Customer Admin. Services
                                   PO Box 672085
                               Dallas, TX 75267-2085


                              Form Process Engineering
                                  P.O.Box 530772
                               Birmingham, AL 35253


                                Franchise Tax Board
                                  PO Box 942857
                               Sacramento, CA 94257
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                         Gellert, Scali, Busenkell & Brown
                          1201 N. Orange St., suite 300
                              Wilmington, DE 19801


                                 Gomez, Marco
                           3553 Atlantic Avenue, #250
                             Long Beach, CA 90807


                                     Grainger
                                 Dept 800024385
                             Palatine, IL 60038-0001


                            Green Valley Tree Service
                              2817 Rosewood Ave
                                Ceres, CA 95307


                           Haulaway Storage Containers
                                   PO Box 186
                             Stanton, CA 90680-0186


                             Hertz Equipment Rental
                                PO BOX 650280
                            DALLAS, TX 75265-0280


                            Holmes Building materials
                            6190 Greenwell Spring Rd.
                             Baton Rouge, LA 70806


                            Integrated Access Solutions
                            5 Corporate Park Suite 200
                                 Irvine, CA 92606
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                                 IntelePeer Inc.
                                  PO Box 8397
                            Pasadena, CA 91109-8397


                                 Konica Minolta
                                 PO Box 100706
                            Pasadena, CA 91189-0706


                         Koury Geotechnical Services, Inc.
                                14280 Euclid Ave
                                Chino CA 91710


                                  LDK Solar
                        1290 Oakmead Parkmead, Suite 306
                              Sunnyvale, CA 94085


                    LDK Solar International Company Limited
                      c/o Christopher R. Miller/Willa Qian
                               Qian and Company
                            135 Main St., 9th Floor
                           San Francisco, CA 94105


                          Level One / Solar Solutions Int.
                               25315 Dequindre Rd
                           Madison Heights, MI 48071


                                    LexisNexis
                             Attn: Credit Management
                                Building 2 4th floor
                              9443 Springboro Pike
                                Dayton, OH 45342


                        Los Angeles County Tax Collector
                                PO Box 54027
                          Los Angeles. CA 90054-0027
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                            Louisiana Lift and Equipment
                                   PO BOX 3869
                           SHREVEPORT, LA 71133-3869


                                  Maverick Welding
                            c/o Asset Recovery Group Inc.
                                     PO Box 14949
                               Portland, OR 97293-0949


                                    McAfee, Inc.
                                6052 Paysphere Circle
                               Chicago, IL 60674-6052


                              Messageware Incorporated
                          6711 Mississauga Road, Suite 308
                        Mississauga, Ontario, Canada L5N 2W3


                                    Mobile Mini
                            7420 S. Kyrene Road Ste 101
                                 Tempe, AZ 85283


                     Montgomery Electric & Maintenance, Inc.
                              2205 Hodges Street
                            Lake Charles, LA 70601


                     Montgomery Electric & Maintenance, Inc.
                                c/o Phillip DeVilbiss
                 Scofield, Gerard, Pohorelsky, Gallaugher & Landry
                     P. O. Box 3028, Lake Charles, LA, 70602


                               Notoco Industries, LLC
                                 10380 Airline Hwy
                            Baton Rouge, LA 70816-4090
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                          One Beacon Insurance Company
                        188 Inverness Drive West, Suite 600
                              Endlewood, CO 80112


                    Pitney Bowes Global Financial Services LL
                                 PO Box 371887
                           Pittsbourgh, PA 15250-7887


                                      Platt
                              10605 SW Allen Blvd
                              Beaverton, OR 97005


                          Quality Bending & Fabrication
                            10005 SW Herman Road
                               Tualatin, OR 97062


                           Quality Bending & Fabrication
                        c/o Law Offices of Michael W. King
                            20042 Beach Blvd. Suite 203
                            Huntington Beach CA 92648


                           Resolution Strategies, LLP
                          515 NW Saltzman Road, #909
                              Portland, OR 97229


                              RNS Consulting LLC
                               11605 NE 16th St.
                              Vancouver, WA 98684


                         Rogers Machinery Company,Inc.
                                P.O. Box 230429
                               Portland, OR 97281
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                                 Sahni, Ranbir
                              3920 Locust Avenue
                             Long Beach, CA 90807


                                Sharma, Rekha
                              3920 Locust Avenue
                             Long Beach, CA 90807


                              Slinde Nelson Stanford
                         111 SW Fifth Avenue, Suite 1940
                               Portland, OR 97204


                                SoCal Sanitation
                                163 Sixth Avenue
                           City of Industry, CA 91746


                              Solectria Renewables
                              360 Merrimack Street
                              Building 9, 2nd Floor
                              Lawrence, MA 01843


                                     Soligent
                         1500 Valley House Drive Ste 210
                             Rohnert Park, CA 94928


                           Southern Solid Waste, LLC
                                P. O. Box 4538
                            Lake Charles, LA 70606


                           Staples Advantage Dept LA
                                 PO Box 83689
                            Chicago, IL 60696-3689
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                          Starn O'Toole Marcus & Fisher
                              Pacific Guardian Center
                                    Makai Tower
                             733 Bishop St, 19th Floor
                                Honolulu, HI 96813


                            Sterling InfoSystems, Inc.
                           249 W. 17th Street, 6th Floor
                              New York, NY 10011


                         Suarez Accountancy Corporation
                             1891 N Gaffey St # 231
                              San Pedro, CA 90731


                                   Sunmodo
                            1905 E 5th Street Suite A
                             Vancouver, WA 98661


                           TelePacific Communications
                                 PO Box 526015
                           Sacramento, CA 95852-6015


                                  The Hartford
                                  PO Box 2907
                            Hartford, CT 06104-2907


                               The Home Depot
                             Dept 32- 2137773259
                           Home Depot Credit Services
                                PO Box 183175
                           Columbus, OH 43218-3175


                           Total Electrical Services Inc.
                                8270 Antioch Rd.
                             Baton Rouge, LA 70817
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                            TowerStream Corporation
                                PO Box 414061
                            Boston, MA 02241-4061


                                     Uline
                             Attn: Accts Receivable
                             2200 S. Lakeside Drive
                              Waukegan, IL 60085


                           Weather Proof Roofing LLC
                            8406 NE Broadway Street
                              Portland, OR 97220


                         Westside Building Material Corp.
                             1111 E. Howell Avenue
                               Anaheim, CA 92805


                            White Cap Const. Supply
                            920 N.E.58th Ave Ste 900
                               Portland, OR 97213
